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                       20
                                                         UNITED STATES DISTRICT COURT
                       21
                                                      NORTHERN DISTRICT OF CALIFORNIA
                       22
                                                          )                 Master File No. 06-4595-PJH
                       23                                 )
                            IN RE FOXHOLLOW TECHNOLOGIES, )                 FIRST AMENDED COMPLAINT FOR
                       24   INC. SECURITIES LITIGATION    )                 VIOLATIONS OF FEDERAL
                                                          )                 SECURITIES LAWS
                       25                                 )
                                                          )                 JURY TRIAL DEMANDED
                       26

                       27

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                       1             Plaintiff alleges as follows upon information and belief based upon, inter alia, the
                       2    investigation conducted by plaintiff’s counsel, except as to those allegations pertaining to
                       3    plaintiff personally, which are alleged upon knowledge. The investigation of his counsel
                       4    included, among other things, a review of FoxHollow Technologies, Inc.’s (“FoxHollow” or the
                       5    “Company”) financial condition, documents pertaining to FoxHollow and Lumend, as well as
                       6    regulatory filings, reports, analyst conference call transcripts, press releases and media reports
                       7    about FoxHollow.
                       8             The investigation further included interviews with three confidential witnesses who were
                       9    executive employees of FoxHollow during the relevant period, with direct knowledge of
                       10   FoxHollow’s operations, the Company’s consideration of Lumend, Board conversations with
                       11   executive staff members about Lumend and Robert Thomas, and executive management
                       12   termination decisions and disclosures (“Executive Employee Witnesses 1, 2 and 3").
                       13            Plaintiff believes that substantial evidence exists for the allegations set forth in this
                       14   Complaint.
                       15   I.       OVERVIEW
                       16            1.      Plaintiff brings this action on behalf of a Class of all persons and entities who
                       17   purchased or sold FoxHollow common stock from August 28, 2005 through January 26, 2006
                       18   (“Class Period”) and suffered damages (“Class”).
                       19            2.      FoxHollow was founded by defendant John Simpson in 1996. It is based in
                       20   Redwood City, California. FoxHollow’s sole product is a medical device called the SilverHawk,
                       21   used to treat peripheral artery disease or PAD. The catheter device is like a Roto-Rooter. It is
                       22   inserted inside a clogged artery, and a spinning blade within the catheter is switched on to cut
                       23   through and remove plaque.
                       24            3.      In 1996, at the same time Simpson formed FoxHollow, he formed another
                       25   company called Lumend, Inc. Lumend is also based in Redwood City. It has one primary
                       26   product, called the Frontrunner, which is a catheter device inserted into an artery to penetrate
                       27   plaque blockages and treat PAD. However, unlike FoxHollow’s device, Lumend’s device does

        v              28   not remove the plaque, but merely creates an opening for other treatments to then be used.
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                       1           4.      Simpson, who had successfully formed other medical device companies and sold
                       2    them for millions of dollars, spent several years trying to gauge the respective businesses of
                       3    FoxHollow and Lumend, with contrasting results. Ultimately, given the superiority of the
                       4    FoxHollow technology and market interest, Simpson decided to only take FoxHollow public.
                       5           5.      In October 2004, FoxHollow commenced an initial public offering at $14 per
                       6    share. Overnight, Simpson’s founders’ stock – like that of his friends, family and medical
                       7    colleagues who also invested pre-IPO – was worth millions.
                       8           6.      Over the next year, as FoxHollow reported record revenues on a quarterly basis,
                       9    its stock price more than tripled in value, surpassing $50 per share by July 2005. In virtually
                       10   every SEC filing, press release, and earnings conference call during this period, FoxHollow’s
                       11   management publicly lauded the role of its senior officers in the Company’s continuing success.
                       12          7.      Notably, in its SEC filings, FoxHollow also highlighted its efforts to retain senior
                       13   officers by structuring their compensation packages to ensure their long-term employment. For
                       14   example, in its proxy statement filed with the SEC on May 16, 2005, FoxHollow reported that its
                       15   Compensation Committee had approved a unique “bonus” and “additional bonus” plan solely
                       16   applicable to its three highest ranking officers, including Robert Thomas, its Chief Executive
                       17   Officer, and David Martin, its Chief Operation Officer, whereby they would be entitled to
                       18   lucrative “long term compensation awards” of stock options with extended vesting requirements
                       19   in the event financial goals were met. By virtue of these special plans, Thomas and Martin alone
                       20   received about 600,000 stock options, representing 30% of the total options granted to all
                       21   employees. These options had ten-year terms. In addition, while employment at FoxHollow was
                       22   generally at will, the proxy noted these executive officers had special agreements under which
                       23   the vesting of options accelerated upon a change of control.
                       24          8.      By virtue of these SEC filings, press releases, and earnings calls, the public
                       25   market and analysts were uniformly led to believe a certain “state of affairs” at FoxHollow, i.e.,
                       26   that the Company and its Board were entirely satisfied with its executive team, including
                       27   Thomas, and highly motivated to retain them for long-term employment. However, it turns out

        v              28   that such a public perception – shared by every analyst covering FoxHollow – was mistaken.
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                       1           9.      In November 2004, FoxHollow’s management was asked by Simpson to consider
                       2    acquiring his other company, Lumend. Over the next several months, between November 2004
                       3    and August 2005, FoxHollow’s management conducted extensive due diligence and evaluation
                       4    of Lumend, including detailed sales and revenue forecasts. As a result of such due diligence,
                       5    three of FoxHollow’s six executive officers – including Martin (COO), Hoffman (VP Sales) and
                       6    Leslie Trigg (VP Marketing) – informed Simpson and Thomas that an acquisition made no sense
                       7    to FoxHollow, involved inferior technology, and would only get in the way of its already
                       8    successful business model. Indeed, the only two executive officers that were in favor of
                       9    acquiring Lumend were personally related to Simpson – Duke Rohlen, Simpson’s son-in-law,
                       10   and Matt Ferguson, Rohlen’s brother-in-law.
                       11          10.     At first, Simpson and Thomas attempted to coerce Martin, Hoffman and Trigg to
                       12   change their minds. For example, Thomas separately promised both Martin and Hoffman that, if
                       13   they signed on to a Lumend acquisition, they would be given the opportunity to run Lumend.
                       14   Both rejected the unethical offer. Eventually, Simpson grew tired and increasingly irritated at the
                       15   executive team’s refusal to purchase Lumend, as well as with Thomas’ seeming inability to
                       16   “control” Martin, Hoffman and Trigg and to obtain their consent.
                       17          11.     On or about August 28, 2005, Simpson told Thomas that the Lumend acquisition
                       18   would go forward, with or without all of the executive officers’ consent, that his decision had
                       19   already been approved by the Board, that it was final and non-negotiable, and that executive team
                       20   members would be asked to resign if they refused to go along with the Lumend acquisition.
                       21   Simpson ordered that the transaction be closed by the end of the week. This material information
                       22   was concealed from the public.
                       23          12.     Martin, Hoffman and Trigg refused to bow to Simpson’s pressure and told
                       24   Thomas that they would not sign off on the Lumend transaction. Simpson was forced to sell
                       25   Lumend to another party. Simpson then carried out his threat and purged FoxHollow of its
                       26   “disloyal” management.
                       27          13.     On Monday, December 12, 2005, in the midst of record sales and revenues, the

        v              28   Company’s first ever profit, and a stock value driven by a public perception of management
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                       1    harmony and success, FoxHollow suddenly announced that its Board had decided to make a
                       2    “change” in management and replace Thomas, the Company’s President and CEO. Rather than
                       3    reveal that Thomas had been forced to resign from FoxHollow due to, among other things, his
                       4    inability to coerce other officers to approve the Lumend transaction, Simpson and Thomas then
                       5    held a conference call with miffed analysts and represented that Thomas was “retiring” for
                       6    “personal reasons.” In fact, Thomas had been forced to resign, i.e., fired, just days earlier, after
                       7    the Board had met with executive officers and interrogated them about Thomas and his role with
                       8    Lumend.
                       9             14.   The explanation made little sense to analysts who had closely covered FoxHollow
                       10   since its IPO in 2004. The Company had given no prior notice of Thomas’ intention to leave
                       11   FoxHollow voluntarily or for personal reasons, and to the contrary, actively promoted the fact
                       12   that Thomas was leading the Company through quarter after quarter of record profits, with
                       13   lucrative stock options waiting to be exercised for remaining at the Company. Nonetheless,
                       14   anticipating analyst concerns about other management changes, both Simpson and Thomas
                       15   reassured analysts about the Company’s confidence in the remaining members of management
                       16   and their expected longevity. Simpson stated that FoxHollow expected a smooth CEO transition
                       17   “based on our success and strong management team we have in place.” Commenting on
                       18   Thomas’ departure, Simpson stated, “He leaves us in very good shape with a strong management
                       19   team.”
                       20            15.   Following the conference call, FoxHollow’s share price fell from $46.12 to
                       21   $38.97 the next trading day on ten times ordinary volume. Within one week, FoxHollow was
                       22   trading below $31 per share, a loss of one-third of its market capitalization or over $375 million.
                       23   This substantial drop was only tempered by Simpson’s assurances that Thomas’ departure was
                       24   routine and that the Company had complete confidence in the existing management team,
                       25   including Martin and Hoffman.
                       26            16.   However, the other shoe dropped without warning on January 25, 2006. Contrary
                       27   to prior assurances, FoxHollow announced that Martin, the COO, and Hoffman, the VP of Sales,

        v              28   were also going to be replaced. FoxHollow reported that Duke Rohlen, Simpson’s son-in-law,
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                       1    who had no prior public management experience, had been promoted to President of Strategic
                       2    Operations and Matt Ferguson, Rohlen’s brother-in-law, was remaining as CFO. Over the next
                       3    three days, FoxHollow’s share price fell from $27.34 to a low of $23.35, another 15% loss.
                       4           17.      Together, after disclosure of the management changes, FoxHollow shareholders
                       5    lost 50% of their stock value in just over one month. The total market value loss is estimated at
                       6    over $600 million. By this action, plaintiff seeks to recover damages for this conduct in violation
                       7    of federal securities laws. Given their prior disclosures, FoxHollow had a duty to disclose
                       8    material information about Simpson’s decision, approved by the Board, to acquire Lumend and
                       9    to terminate any executives who refused to go along with that decision. This decision was
                       10   reached on August 28, 2005. Moreover, on December 12, 2005, once defendants chose to speak
                       11   about the reason for Thomas’ sudden departure, and their expectation that other executive
                       12   officers would remain at FoxHollow, they had a duty to accurately represent all material facts.
                       13   They did not.
                       14   II.   JURISDICTION, VENUE AND SAFE HARBOR
                       15          18.      Plaintiff brings this action pursuant to Sections 10(b) and 20(a) of the Securities
                       16   Exchange Act of 1934 and Rule 10b-5 promulgated thereunder. This Court has jurisdiction over
                       17   this action pursuant to §27 of the 1934 Act (15 U.S.C. §78aa).
                       18          19.      Venue is proper in this district. Defendant FoxHollow resides and conducts
                       19   business in this District. A substantial part of the events, acts, omissions and transactions
                       20   complained of herein, including the concealment and misrepresentation of information to
                       21   plaintiffs and the Class, occurred in this District. At all relevant times herein, defendant
                       22   conducted substantial business and/or committed violations of United States law by acts
                       23   committed in this District.
                       24          20.      The statutory safe harbor provided for forward-looking statements under certain
                       25   circumstances does not apply to the defendants’ material misrepresentations and omissions
                       26   alleged in this Complaint. Defendants’ misrepresentations and omissions were not identified as
                       27   forward-looking statements, they were not accompanied by meaningful cautionary statements

        v              28   identifying important factors which could cause actual results to differ materially from those in
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                       1    forward-looking statements, or they were not forward-looking statements within the meaning of
                       2    the statute. Alternatively, to the extent any omissions or statements pleaded herein are
                       3    considered to be “forward-looking,” defendants are liable because at the time each was made, the
                       4    speaker knew that the statement was false and the statement was authorized and/or approved for
                       5    issuance by the defendant who knew that those statements were false when made.
                       6    III.   THE PARTIES
                       7           21.     Lead Plaintiff Matthew Roberts purchased Foxhollow common stock during the
                       8    Class Period and was damaged thereby.
                       9           22.     Defendant FoxHollow Technologies, Inc. is a corporation organized under the
                       10   laws of Delaware, with principal executive offices at 740 Bay Road, Redwood City, California.
                       11          23.     Defendant John B. Simpson is the CEO and a director of FoxHollow. Simpson
                       12   founded FoxHollow in September 1996 and has served as a member of its Board of Directors
                       13   from September 1996 to the present. From October 1996 to July 1997, Simpson served as
                       14   President of FoxHollow. From May 2004 to December 2005, Simpson served as a paid
                       15   consultant to FoxHollow. From January 2005 to June 5, 2006, Simpson served as the Interim
                       16   CEO and then became the permanent CEO. Simpson, along with his family members and related
                       17   trusts, companies, and venture capital funds, is also a large and controlling shareholder of
                       18   FoxHollow and sold thousands of shares during the Class Period. Simpson’s son-in-law is Duke
                       19   Rohlen, the President of Strategic Relations. Rohlen’s brother-in-law is Matthew B. Ferguson,
                       20   the CFO.
                       21          24.     Simpson possessed the power and authority to control the contents of
                       22   FoxHollow’s quarterly and annual reports and other SEC filings, press releases, presentations to
                       23   securities analysts, money and portfolio managers and institutional investors, i.e., the market. He
                       24   was provided with copies of the Company’s reports and press releases alleged herein to be
                       25   misleading prior to or shortly after their issuance and had the ability and opportunity to prevent
                       26   their issuance or cause them to be corrected. Because of his positions and access to material non-
                       27   public information available to him but not to the public, he knew that the adverse facts specified

        v              28   herein had not been disclosed to and were being concealed from the public and that the positive
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                       1    representations which were being made were then materially false and misleading. Simpson is
                       2    liable for the concealments and false statements pleaded herein.
                       3           25.     Plaintiff is ignorant of the true names of defendants sued as Does 1 through 10,
                       4    inclusive, and therefore sues these defendants by such fictitious names and will seek leave of the
                       5    Court to amend this Complaint to allege their true names and capacities when they are
                       6    ascertained. Plaintiff alleges that each of the Doe Defendants is responsible for the acts alleged
                       7    in this Complaint and that Plaintiff’s damages were caused by the Doe Defendants.
                       8           26.     Defendants, and the Doe Defendants, and each of them, are individually sued as
                       9    participants and as aiders and abettors in the improper acts, plans, schemes, and transactions, to
                       10   induce Plaintiff and the class to purchase the debt securities that are the subject of this
                       11   Complaint.
                       12          27.     Various other people, firms, and corporations, presently unknown to Plaintiff and
                       13   sued herein as Does 1 through 10 in this Complaint, have participated as members of the alleged
                       14   scheme or acted in furtherance of it, or aided or assisted in carrying out its purposes as alleged in
                       15   this Complaint, and have performed acts and made statements in furtherance of the violations
                       16   and conspiracy.
                       17          28.     At all relevant times, each Defendant was and is the agent of each of the
                       18   remaining Doe Defendants, and in doing the acts alleged herein, was acting within the course and
                       19   scope of such agency. Each Defendant ratified and/or authorized the wrongful acts of each of the
                       20   other Doe Defendants.
                       21   IV.   CLASS ALLEGATIONS
                       22          29.     Plaintiffs bring this action as a class action under Federal Rule of Civil Procedure,
                       23   Rule 23. The Class is defined as all persons and entities who purchased or sold FoxHollow
                       24   common stock from August 28, 2005 through January 26, 2006 and suffered damages. Excluded
                       25   from the class are the defendants herein, and the subsidiaries, parents, affiliates, family members
                       26   and/or controlled persons or entities of each defendant.
                       27          30.     The members of the class are so numerous that joinder of all members is

        v              28   impracticable. While the exact number of class members is unknown to Plaintiff at the present
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                       1    time and can only be ascertained through appropriate discovery, Plaintiff believes that there are
                       2    hundreds of members located throughout the United States. Throughout the Class Period,
                       3    FoxHollow had approximately 25 million shares of common stock outstanding, which were
                       4    actively traded on the Nasdaq National Market in an efficient market.
                       5           31.     Plaintiff’s claims are typical of the claims of the members of the class, as Plaintiff
                       6    was victimized by the same scheme and induced to purchase the common stock based upon the
                       7    same misrepresentations and omissions, and was damaged thereby.
                       8           32.     Plaintiff will fairly and adequately protect the interests of the members of the class
                       9    and has retained counsel competent and experienced in class and securities litigation. Plaintiff
                       10   has no interests which are contrary to or in conflict with those of the class members he seeks to
                       11   represent.
                       12          33.     A class action is superior to other available methods for the fair and efficient
                       13   adjudication of this controversy since joinder of all members is impracticable. Furthermore, as
                       14   the damages suffered by individual members may be relatively small, the expense and burden of
                       15   individual litigation make it virtually impossible for the class members to individually seek
                       16   redress for the wrongs done to them. Plaintiff knows of no difficulty which will be encountered
                       17   in the management of this litigation which would preclude its maintenance as a class action.
                       18          34.     There is a well-defined community of interest in the questions of law and fact
                       19   involved in this case. Common questions of law and fact exist as to all members of the class and
                       20   predominate over any questions affecting solely individual members of the class. Among
                       21   questions of law and fact common to the class are:
                       22                  a.     whether the federal securities laws were violated by defendants’ acts and
                       23                         omissions as alleged herein;
                       24                  b.     whether defendants misstated and/or failed to disclose material facts in
                       25                         their public statements and filings;
                       26                  d.     whether defendants participated directly or indirectly in the course of
                       27                         conduct alleged and whether they acted with scienter;

        v              28                  e.     whether class members were damaged and the proper measure of damages.
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                       1    V.     STATEMENT OF FACTS
                       2           A.      1996: Formation of FoxHollow and Lumend
                       3           35.     In 1996, Simpson formed FoxHollow to market a device used to treat peripheral
                       4    artery disease or PAD. The device is called the SilverHawk and collects and removes plaque in
                       5    order to reopen narrowed or blocked arteries.
                       6           36.     Similarly, in 1996, at the same time he was forming FoxHollow, Simpson formed
                       7    another private company called Lumend, along with Matthew Selmon. For years, Selmon has
                       8    been Simpson’s medical partner at a private cardiology practice in Redwood City, near Sequoia
                       9    Hospital.
                       10          37.     Similar to FoxHollow, Lumend’s primary product was called the Frontrunner,
                       11   which is a catheter used by physicians to penetrate and “cross” an occlusion or blockage in the
                       12   artery. Unlike the SilverHawk, the Frontrunner simply crosses the blockage so that other
                       13   treatments, such as angioplasty or stents, can be used to treat the problem. The Frontrunner does
                       14   not actually remove the plaque.
                       15          38.     Lumend has other similarities with FoxHollow. Before its IPO, FoxHollow was
                       16   financially backed by Simpson, through his affiliated venture capital firm called De Novo
                       17   Ventures. De Novo, which is based in Menlo Park, also was one of the primary investors in
                       18   Lumend. De Nova was co-founded in 2000 by Simpson and Richard Ferrari. Ferrari also served
                       19   on FoxHollow’s Board of Directors until 2005.
                       20          39.     Simpson used De Novo Ventures to fund several different companies including
                       21   Guidant, Perclose and Prolithics. Each of these companies were working to develop technology
                       22   in the biotechnology and medical device industries and, at times, operated under the same roof.
                       23   For example, Lumend and Fox Hollow initially operated out of the same office building, located
                       24   at 167 Constitution Drive, Menlo Park, California with employees of both companies literally
                       25   working side by side.
                       26          40.     Tomoaki Hinohara, who also practices with Simpson and Selmon in Redwood
                       27   City, helped to invent and develop the Lumend technology and is listed as a co-inventor on

        v              28   several patents issued to or patent applications made by Lumend. Hinohara is also an
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                       1    interventional cardiologist at Stanford University, where Simpson works as a Professor of
                       2    Clinical Medicine. Both Simpson and Hinohara previously served on the Board of Perclose Inc..
                       3    Hinohara serves as a director at FoxHollow and a member of its Compensation Committee.
                       4           41.     Douglas S. Rohlen or “Duke” Rohlen is Simpson’s son-in-law and the brother-in-
                       5    law of defendant Ferguson, Fox Hollow’s CFO. Neither Rohlen nor Ferguson had served as an
                       6    officer or director of a public company. Before joining FoxHollow, Rohlen worked as the
                       7    Director of Business Development at Lumend for his father-in-law.
                       8           42.     Unlike FoxHollow’s Silverhawk technology, Lumend was a market failure and
                       9    failed to make significant inroads into the PAD treatment market. Its Frontrunner device was
                       10   also inferior to other treatment alternatives available to physicians, including the SilverHawk.
                       11          43.     Accordingly, after receiving clearance from the FDA to market the SilverHawk,
                       12   Simpson devoted his efforts to FoxHollow’s business. Between 2003 and 2004, Simpson
                       13   directed management to build a direct sales force organization and initiate sales to medical
                       14   centers. With the efforts of Robert Thomas, CEO, David Martin, COO, and William Hoffman,
                       15   Vice President of Sales, FoxHollow then introduced its product to the United States, with
                       16   significant success. By September 2004, Fox Hollow had 217 employees and had just completed
                       17   a move into a 61,000 square foot facility in Redwood City.
                       18          B.      2004: FoxHollow Goes Public
                       19          44.     In September 2004, FoxHollow commenced filings with the SEC to take the
                       20   Company public.
                       21          45.     At the time, the Company’s executive officers included five members: Thomas,
                       22   CEO, Ferguson, CFO, Martin, COO, Hoffman, Vice President of Sales, and Leslie Trigg, Vice
                       23   President of Marketing. The Company’s Board included Simpson, Hinohara, Ferrari, Thomas,
                       24   Ryan Drant and Sanford Fitch. In addition, in May 2004, FoxHollow and Simpson entered into a
                       25   consulting agreement whereby Simpson was paid $25,000 per month to provide consulting
                       26   services. Simpson maintained a physical office at FoxHollow.
                       27          46.     On October 28, 2004, FoxHollow filed its Registration Statement and Prospectus

        v              28   to initiate its initial public offering. FoxHollow offered 4.5 million shares of its common stock at
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                       1    an initial price of $14.00 per share. At the time, according to the Prospectus, De Novo held
                       2    2,075,173 shares and 32,451 options and warrants, representing 12% of the Company before the
                       3    IPO and 9.5% after the IPO. Simpson held 7,814,693 shares and 117,061 options and warrants,
                       4    representing 44.8% before the IPO and 35.7% after the IPO.
                       5           C.      Between Its October 2004 IPO And August 2005, FoxHollow Used SEC
                       6                   Filings And Earnings Calls To Inform The Public About Its Expanding
                       7                   Revenues And Vigorous Efforts To Secure The Long-Term Employment Of
                       8                   The Executive Officers Responsible For The Company’s Expansion
                       9           47.     On December 6, 2004, FoxHollow filed with the SEC its Form 10-Q for the third
                       10   quarter ending September 30, 2004. The 10-Q was signed by Thomas and Ferguson. The
                       11   Company announced that net revenues were $11.6 million for the first three months ended
                       12   September 30, 2004, compared to $650,000 for the three months ended September 30, 2003. The
                       13   Company announced that net revenues were $23.9 million for the nine months ended September
                       14   30, 2004, compared to $876,000 for the nine months ended September 30, 2003. The Company
                       15   disclosed that its IPO completed on October 28, 2004 had sold 4.5 million shares at $14.00 per
                       16   share, and on October 29, 2004, the underwriters had exercised their over-allotment option to
                       17   purchase 675,000 shares at $14.00 per share. Proceeds from the offering were about $67.4
                       18   million.
                       19          48.     On February 14, 2005, FoxHollow filed with the SEC its Form 8-K, signed by
                       20   Thomas, and issued a related press release, announcing its fourth quarter 2004 and year end
                       21   results. The Company announced that its fourth quarter revenues were $14.7 million, a 27%
                       22   increase over the $11.6 million reported for third quarter of 2003. For the full year, FoxHollow
                       23   reported net revenues of $38.6 million, compared to $2.6 million for 2003.
                       24          49.     On March 28, 2005, FoxHollow filed with the SEC its Form 10-K. The 10-K,
                       25   signed by Thomas and Simpson, reiterated the fourth quarter 2004 and year end results
                       26   announced on February 14. With respect to its employees, FoxHollow announced that it had
                       27   increased its staff to 244 employees noting that “We believe that our future success will depend

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                       1    on our continued ability to attract, hire and retain qualified personnel” and that “we believe our
                       2    employee relations are good.”
                       3           50.     On April 27, 2005, Fox Hollow filed with the SEC its Form 8-K, signed by
                       4    Thomas, and issued a related press release, announcing its financial results for the first quarter of
                       5    2005 ended March 31, 2005. The Company announced that its revenue was $21.5 million, which
                       6    was a 46% increase over revenue of $14.7 million in the fourth quarter of 2004 and a 350%
                       7    increase over first quarter 2004 revenue of $4.8 million. The Company reported a gross margin
                       8    of 59% for the first quarter of 2005 versus 52% in the fourth quarter of 2004 and 14% in the first
                       9    quarter of 2004. Net loss for the quarter was $6.5 million, compared with a net loss of $7.5
                       10   million in the fourth quarter of 2004. Thomas also noted that FoxHollow ended the quarter with
                       11   89 direct salespeople, compared with 69 in the fourth quarter of 2004, and was on track to have
                       12   about 125 sales professionals by the end of 2005.
                       13          51.     On April 27, 2005, FoxHollow also held an Earnings Conference Call for
                       14   analysts. Thomas, Rohlen and Ferguson participated on the call for FoxHollow. Analysts
                       15   participants included Mike Weinstein from J.P. Morgan, Jason Mills from First Albany, Tom
                       16   Gunderson from Piper Jaffray, and Lynn Pieper from Thomas Weisel Partners. After reporting
                       17   extensively on FoxHollow’s success during the first quarter, Thomas concluded:
                       18          “We are executing on our plan by growing our sales force, increasing capacity and
                                   implementing effective marketing and sales programs. At the same time, we are
                       19          running the company to ensure that we achieve managed growth and drive the
                                   company towards profitability. As a result, we believe our story will only get
                       20          better in the months and years ahead. The challenge we face is not one of creating
                                   a market, but rather executing on the opportunities in front of us. We believe we
                       21          have the resources, technology, people and financial to realize our goals not only
                                   with our core business but in other exciting areas as well.”
                       22
                            Emphasizing this point, Thomas stated that FoxHollow has a “team that is executing on every
                       23
                            level imaginable.” Responding to a question from Gunderson of Piper Jaffray, Ferguson noted
                       24
                            that the Company expected to turn its first profit during the fourth quarter of 2005.
                       25
                                   52.     On May 13, 2005, FoxHollow filed with the SEC its Form 10-Q for the first
                       26
                            quarter of 2005, signed by Ferguson and Thomas. FoxHollow reported record quarterly
                       27

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                       1    revenues. Notably, within the litany of “Factors Affecting Future Operating Results” listed by
                       2    FoxHollow in its 10-Q, and repeated in all future 10-Qs filed with the SEC, were the following:
                       3           We depend on skilled and experienced personnel to operate our business
                                   effectively. If we are unable to recruit, hire and retain these employees, our
                       4           ability to manage and expand our business will be harmed, which would
                                   impair our future revenue and profitability.
                       5
                                            Our success largely depends on the skills, experience and efforts of our
                       6           officers and other key employees. Any of our officers and other key employees
                                   may terminate their employment at any time. The loss of any of our senior
                       7           management team could harm our business. Our ability to retain our skilled labor
                                   force and our success in attracting and hiring new skilled employees will be a
                       8           critical factor in determining whether we will be successful in the future. We may
                                   not be able to meet our future hiring needs or retain existing personnel. We will
                       9           face particularly significant challenges and risks in hiring, training, managing and
                                   retaining engineering and sales and marketing employees. Failure to attract and
                       10          retain personnel, particularly technical and sales and marketing personnel, would
                                   harm our ability to compete effectively and grown our business. The
                       11          announcement of the loss of one of our key employees could negatively affect our
                                   stock price.”
                       12
                            The Company also stated:
                       13
                                   “If we make acquisitions or divestitures, we could encounter difficulties that
                       14          harm our business.
                       15                  We may acquire companies, products or technologies that we believe to be
                                   complementary to the present or future direction of our business. If we engage in
                       16          such acquisitions, we may have difficulty integrating the acquired personnel,
                                   financials, operations, products or technologies. Acquisitions may dilute our
                       17          earnings per share, disrupt our ongoing business, distract our management and
                                   employees and increase our expenses, which could harm our business. If we use
                       18          our common stock to acquire companies, products or technologies, it may
                                   substantially dilute the percentage of the company held by stockholders who own
                       19          securities prior to the acquisition.”
                       20   Emphasis in bold in original; emphasis in italics added.
                       21          53.     On May 16, 2005, FoxHollow filed with the SEC its Schedule 14A Proxy
                       22   Statement (“Proxy”). The Proxy, signed by Thomas, provided the most detailed description yet
                       23   of FoxHollow’s compensation packages for executive officers. The Proxy also described in
                       24   detail the efforts of FoxHollow’s Compensation Committee to ensure the long-term retention of
                       25   certain officers, including Thomas, Martin and Hoffman. At the time the Proxy was filed,
                       26   FoxHollow had six directors, including Simpson, Thomas, Richard Ferrari (Simpson’s business
                       27   partner with De Novo Ventures), and Tomoaki Hinohara (Simpson’s medical partner). The

        v              28   Compensation Committee consisted of Ryan Drant, Ferrari and Hinohara.
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                       1           54.     In the Proxy, the Compensation Committee issued a Report detailing the
                       2    compensation program for executive officers and its “overall executive compensation
                       3    philosophy” to “attract and retain executives who are critical to Fox-Hollow’s long-term
                       4    success.” According to the Report, the major components of the strategy were (1) base salary,
                       5    (2) cash bonuses, and (3) “potential long-term compensation through stock options.” With
                       6    respect to cash bonuses, the Compensation Committee stated that it had met and approved a
                       7    special “Bonus Plan” for solely applicable to three officers: the CEO, COO and CFO. This
                       8    Bonus Plan provided additional cash based on revenue and performance goals. In addition, the
                       9    Compensation Committee approved an “Additional Bonus” to the same three officers, in the
                       10   event the revenue and performance goals were exceeded. Finally, under the heading, “Long-
                       11   Term Incentives,” the Compensation Committee stated it would award stock options to officers
                       12   “both as a reward for past individual and corporate performance and as an incentive for future
                       13   performance,” viewing stock options as “long-term compensation” designed to ensure the long-
                       14   term employment of its management. All options granted under this program to officers were
                       15   ten-year terms, with delayed vesting.
                       16          55.     The Proxy also set forth a Summary Compensation Table for executive officers,
                       17   including Thomas, Martin and Hoffman. The Table reflected that all three had received salary
                       18   raises from the prior year. All three officers also received substantial cash bonuses, including a
                       19   $78,000 bonus to Hoffman, ad $265,000 bonus to Martin, and a $250,000 bonus to Thomas.
                       20          56.     With respect to FoxHollow’s reported efforts to retain these three highest ranking
                       21   officers, the Table further noted that all three had received substantial “Long Term Compensation
                       22   Awards” consisting of stock option grants. Specifically, Hoffman was granted a long term award
                       23   of 129,548 options, Martin received a grant of 257,987 options, and Thomas received a grant of
                       24   499,571 options (in addition to 425,000 option grants from the prior year). These three grants
                       25   alone represented over 30% of the total options granted to all employees during the fiscal year.
                       26   The grants carried a low exercise price of just $0.32 per share and a ten-year term. The Proxy’s
                       27   description of the grants and the terms themselves were a clear indicator to the public market that

        v              28   Fox Hollow wanted to retain Thomas, Martin and Hoffman for a long term, and to provide all
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                       1    three with powerful financial incentives to remain at FoxHollow. Indeed, the reported value of
                       2    unvested options held by Thomas, Martin and Hoffman was over $29 million.
                       3           57.     On May 18, 2005, shortly after the release of the Proxy, Thomas was presented
                       4    with the industry’s top award – the Platinum ABBY – at the Seventh Annual Innovations in
                       5    Healthcare event and awards ceremony in Orange, California. The award was presented by the
                       6    Adaptive Business Leaders Organization, comprised of CEOs and Presidents of healthcare and
                       7    technology firms in the United States. A news release of the award, published on PRNewswire
                       8    on May 19, 2005, stated that Thomas was recognized for his work at FoxHollow, which had
                       9    generated over $40 million in revenues over the past 12 months.
                       10          58.     During the ten-day trading period between May 16, 2005 and May 26, 2005,
                       11   FoxHollow’s share price climbed from about $30 per share to $40 per share on heavy volume.
                       12          59.     On June 20, 2005, FoxHollow filed with the SEC a Form 8-K, signed by Thomas,
                       13   and issued a press release announcing that Jeffrey Child had been added to FoxHollow’s Board
                       14   of Directors, filling a vacancy created by Richard Ferrari, who resigned on June 17, 2005. Child
                       15   was a close friend and a neighbor of Ferguson.
                       16          60.     On July 27, 2005, FoxHollow filed with the SEC a Form 8-K, signed by Thomas,
                       17   and issued a press release announcing its financial results for the second quarter of fiscal year
                       18   2005 ended June 30, 2005, including revenue for the quarter of $28.7 million, a 33% increase
                       19   over revenues of $21.5 million in the first quarter of 2005, and a 283% increase over revenues of
                       20   $7.5 million in the second quarter of 2004. The Company also reported a gross margin of 69% in
                       21   the second quarter, versus 59% in the first quarter of 2005 and 19% in the second quarter of
                       22   2004. The net loss for the quarter was $3.4 million compared to a net loss of $6.5 million in the
                       23   first quarter of 2005, and a net loss of $8.8 million in the second quarter of 2004.
                       24          61.     On the same day, July 27, 2005, FoxHollow held an Earnings Conference Call for
                       25   analysts. Thomas, Rohlen and Ferguson participated on the call for FoxHollow. Analysts
                       26   participants included Mike Weinstein from J.P. Morgan, Jason Mills from First Albany, Tom
                       27   Gunderson from Piper Jaffray, and Ben Andrew from William Blair. After reporting extensively

        v              28   on FoxHollow’s successes, Thomas stated:
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                       1           “An important piece of the FoxHollow infrastructure story is our people. We are
                                   continuing to add to our bench strength with the addition of management
                       2           personnel in all areas of the Company. I want to take this opportunity to
                                   acknowledge the tremendous efforts of all of our employees throughout the
                       3           organization, including operations, R&D, sales, marketing, IT, the critical and
                                   regulatory department, and our finance and administrative groups.”
                       4
                                   62.     On July 28, 2005, FoxHollow’s stock price soared about 18% to an all time high
                       5
                            trading price of $55.20. The trading volume was almost 5 million shares, more than ten times
                       6
                            ordinary volume, and the largest single trading day in the Company’s history (other than its IPO).
                       7
                                   63.     On July 29, 2005, FoxHollow filed with the SEC its Form 10-Q for the second
                       8
                            quarter of 2005, signed by defendant Ferguson. FoxHollow reported its financial results for the
                       9
                            second quarter, including record quarterly revenues.
                       10
                                   D.      In August 2005, In Stark Contrast To The Perceived State Of Affairs At
                       11
                                           FoxHollow, The Company In The Midst Of Internal Turmoil Caused By
                       12
                                           Simpson’s Sudden Edict To Senior Management To Use Company Funds To
                       13
                                           Acquire Lumend Company Or Else Resign
                       14
                                   64.     By virtue of the statements described in Paragraphs 48 to 63 above, the public
                       15
                            market and industry analysts were uniformly led to believe that FoxHollow’s Board was entirely
                       16
                            satisfied with the performance of its executive team, including Thomas, who, at just over 40
                       17
                            years of age, was leading one of the fastest-growing medical device corporations in United States
                       18
                            history, with a lucrative stock-based compensation package to ensure his long-term, continued
                       19
                            employment. Beginning in August 2005, that public perception was mistaken.
                       20
                                   65.     Back in November 2004, FoxHollow’s management had been asked by Simpson
                       21
                            to consider acquiring his other company, Lumend. However, according to Executive Employee
                       22
                            Witnesses 1, 2 and 3, financial, sales and marketing staff performed extensive due diligence and
                       23
                            evaluation of Lumend over several months, including detailed sales and revenue forecasts and
                       24
                            polling of customers, and concluded that an acquisition made no sense and could actually be
                       25
                            damaging to FoxHollow’s ongoing sales efforts.
                       26
                                   66.     Certain of FoxHollow’s executive officers – including Martin, Hoffman and Trigg
                       27
                            – informed Simpson and Thomas that an acquisition made no sense and involved inferior
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                       1    technology. Indeed, the only two executive officers that were in favor of acquiring Lumend were
                       2    personally related to Simpson – Duke Rohlen, Simpson’s son-in-law, and Matt Ferguson,
                       3    Rohlen’s brother-in-law.
                       4              67.   At first, Simpson and Thomas attempted to coerce Martin and Hoffman to change
                       5    their minds with special perquisites. According to Executive Employee Witness 1, Thomas
                       6    separately told both Martin and Hoffman that they would have the opportunity to personally run
                       7    Lumend. Both rejected the offer. Eventually, Simpson grew tired and increasingly irritated at
                       8    the executive team’s refusal to purchase Lumend, and with Thomas’ inability to secure Martin,
                       9    Hoffman and Trigg’s consent.
                       10             68.   For example, according to Executive Employee Witness 1, Duke Rohlen
                       11   (Simpson’s son-in-law) took Martin went out to lunch near FoxHollow’s offices and tried to
                       12   convince him to comply with the Lumend acquisition. When Martin refused, citing the problems
                       13   of the Lumend deal and the fact that Simpson had a clear conflict of interest in actively
                       14   promoting the deal to FoxHollow management, Rohlen asked in exasperation, “What am I going
                       15   to tell my father-in-law?” Martin replied, “Tell him the truth.” Thereafter, Simpson took Martin
                       16   aside at told him without any provocation that “you’re never going to be CEO,” an obvious
                       17   threat.
                       18             69.   According to Executive Employee Witness 2, Rohlen took Trigg to a FoxHollow
                       19   conference room to try to persuade her to sign on to the Lumend Transaction. Trigg had
                       20   personally completed a marketing analysis of the Lumend transaction, including a detailed sales
                       21   model which looked at the anticipated number of accounts and monthly sales expected to be
                       22   driven by the Lumend technology. Trigg told Rohlen that it was a bad product, that there was not
                       23   enough revenues to justify the acquisition, and that Simpson’s personal involvement created a
                       24   conflict of interest. Thereafter, Simpson took Trigg aside and sarcastically asked whether it was
                       25   “you guys” (i.e., Martin, Hoffman and Trigg) or Thomas that were “running the company,”
                       26   referring to their decision against proceeding with Lumend. Simpson then told Trigg, who was
                       27   about to take a maternity leave, that he was going to go forward with Lumend “with or without

        v              28   you.”
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                       1           70.     According to Executive Employee Witness 3, Simpson maintained a physical
                       2    office at FoxHollow’s headquarters. In June 2005, Simpson set up a meeting with Martin and
                       3    Hoffman in a meeting room at headquarters to discuss their refusal to sign on to acquiring
                       4    Lumend. When Martin was running late, Simpson and Hoffman sat down together and started
                       5    talking. Simpson asked what he needed to do to convince Hoffman that Lumend was a
                       6    worthwhile project. Hoffman replied that Lumend would never work for FoxHollow’s business
                       7    model and then proceeded to list all of the reasons. After Hoffman finished, Simpson told him
                       8    over and over again, six or seven times, “Not afraid of you Hoffman,” “Not afraid of you
                       9    Hoffman.”
                       10          71.     At one point, according to Executive Employee Witnesses 1 and 3, Simpson
                       11   cleaned out at his desk and stormed out of FoxHollow’s offices, stating he was quitting. At a
                       12   subsequent executive team meeting, Duke Rohlen told Hoffman that Simpson had resigned from
                       13   the Board, at which point Hoffman responded, “quick, lock the door.”
                       14                  1.      Simpson’s August 28, 2005 Threat To Executive Staff
                       15          72.     On or about August 28, 2005 – the start of the Class Period – Simpson told
                       16   Thomas that the Lumend acquisition would go forward, with or without the executive officers’
                       17   consent, that his decision had been approved by the Board, that it was final and non-negotiable,
                       18   and that executive team members would be asked to resign if they refused to go along with the
                       19   Lumend acquisition. Simpson ordered that the transaction be closed by the end of the week.
                       20   Given the public’s perception about the state of affairs at FoxHollow, defendants has a duty to
                       21   disclose this information – an order by the Chairman to executive management to breach their
                       22   fiduciary duty or else risk termination – to the public market.
                       23          73.     Simpson had the power to issue and enforce his threat. Simpson was serving as
                       24   Chairman of the Board, a paid “consultant” to the Company, and FoxHollow’s largest individual
                       25   shareholder. His family members and close friends occupied positions on FoxHollow’s
                       26   executive management team and followed his directions. Simpson selected every member of
                       27   FoxHollow’s Board of Directors, including his medical partner who served on FoxHollow’s

        v              28   Compensation Committee.
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                       1           74.     However, according to Executive Employee Witnesses 1, 2 and 3, Martin,
                       2    Hoffman and Trigg refused to consent to Simpson’s edict and told Thomas that they would not
                       3    sign off on the Lumend transaction. In or about September 2005, Simpson was forced to sell
                       4    Lumend to another party. Over the next 90 days, Simpson orchestrated the removal of Thomas,
                       5    Martin and Hoffman. Trigg was not removed as she then went out on maternity leave.
                       6           75.     On October 26, 2005, FoxHollow filed with the SEC a Form 8-K, signed by
                       7    Thomas, and issued a press release, announcing its financial results for the third quarter of fiscal
                       8    year 2005 ended September 30, 2005. The Company reported revenue for the third quarter was
                       9    $36.1 million, a 26% increase over revenue of $28.7 million in the second quarter of 2005 and a
                       10   212% increase over revenue of $11.6 million in the third quarter in 2004. The Company reported
                       11   a gross margin of 73% versus 69% in the prior quarter and 40% in the third quarter of 2004. Net
                       12   loss for the quarter was $1.5 million, compared to a net loss of $3.4 million in the second quarter
                       13   of 2005 and a net loss of $7.4 million in the third quarter of 2004. Excluding stock-based
                       14   compensation expenses, FoxHollow actually reported net income for the first time. The 8-K
                       15   did not mention Simpson’s decision to terminate FoxHollow’s executive management who failed
                       16   to authorize the Lumend acquisition.
                       17          76.     On the same day, FoxHollow held an Earnings Conference Call for analysts.
                       18   Thomas, Rohlen and Ferguson participated on the call for FoxHollow. Analysts participants
                       19   included Mike Weinstein from J.P. Morgan, Jason Mills from First Albany, Tom Gunderson
                       20   from Piper Jaffray, Amit Bhalla of Morgan Stanley, and Ben Andrew from William Blair. After
                       21   reporting extensively on FoxHollow’s reported successes outlined in its 8-K, including a
                       22   profitable quarter, the expansion of its manufacturing facility, and a new collaboration agreement
                       23   with Merck, Thomas personally “thank[ed] and congratulate[d] all the members of the
                       24   FoxHollow team for their efforts and results. The performance over the past 2 years is nothing
                       25   short of remarkable and we are all energized by the new hawks that are coming in with the
                       26   mindset of taking this opportunity to the next level.” At the end of the call, a company
                       27   representative, believed to be Thomas, concluded, “We couldn’t be happier.”

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                       1           77.     On November 1, 2005, FoxHollow filed with the SEC its Form 10-Q for the third
                       2    quarter of 2005, signed by defendant Ferguson. FoxHollow reported its financial results for the
                       3    third quarter, including record quarterly revenues.
                       4           78.     According to Executive Employee Witnesses 1, 2 and 3, on or about Thursday,
                       5    December 8, 2005, Martin, Hoffman and Trigg were suddenly called to a meeting – believed to
                       6    be at the Menlo Park offices of outside director, Jeff Child – and interviewed individually by
                       7    Board representatives about what they knew about Thomas and his interaction with Simpson
                       8    with respect to Lumend.
                       9           79.     On or about Saturday, December 10, 2005, Martin, Rohlen, Ferguson, and Rod
                       10   Steckel were asked to attend a meeting at the Palo Alto offices of Wilson Sonsini, FoxHollow’s
                       11   corporate counsel. Certain Board members, including Sandy Fitch, Myrtle Potter and Simpson
                       12   also attended. According to Executive Employee Witness 1, Martin was informed that Thomas’
                       13   departure from FoxHollow would be announced the following Monday and that the Board was
                       14   adopting a “leadership committee” of four members, Martin, Rohlen, Ferguson and Steckel to
                       15   take over Thomas’ responsibilities. According to Executive Employee Witness 1, this committee
                       16   was set up to neutralize the influence of Martin following Thomas’ departure until such time as
                       17   he too could be removed. Simpson had already been appointed as “Interim CEO” making the
                       18   committee irrelevant. Further, at the December 10 meeting, Fitch confronted Martin with
                       19   unfounded accusations about his performance as COO, including allegations of “channel
                       20   stuffing.” Such concerns had never been raised with Martin before.
                       21                  2.      The December 12, 2005 Announcement of Thomas’ “Resignation”And
                       22                          Reassurance About The Status Of The Remaining Management Team
                       23          80.     On Monday, December 12, 2005, after the close of trading, FoxHollow filed a
                       24   Form 8-K with the SEC, signed by Thomas, and issued a press release entitled, “FoxHollow
                       25   Technologies Announces Management Transition.” FoxHollow reported that Thomas had
                       26   “informed the Company’s Board of Directors that he will be retiring” as President and CEO and
                       27   resigning from the Board effective January 1, 2006 – i.e., just two weeks later. FoxHollow also

        v              28   announced that Simpson would replace Thomas as “interim” CEO. Simpson stated, “I have
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                       1    maintained a very active role with the Company and look forward to leading our outstanding
                       2    group of senior management until we have named a replacement. We will be looking for a
                       3    permanent chief executive officer who has extensive leadership experience and who can lead the
                       4    Company through its next stage of growth.”
                       5           81.     The 8-K and press release were materially misleading. Thomas did not
                       6    voluntarily resign. Rather, Simpson told Thomas that he would be replaced back if he didn’t
                       7    implement the Lumend acquisition back in August 2005, and was thereafter forced to resign, i.e.,
                       8    fired. Just days earlier, the Board had met with executive officers and interrogated them about
                       9    Thomas and his role with Lumend. Further, Simpson did not intend on leading its present senior
                       10   management nor view them as “outstanding.” To the contrary, Simpson planned to replace
                       11   Martin and Hoffman just a few weeks later, and had already embarked on a plan to force their
                       12   removal, either voluntarily or involuntarily.
                       13          82.     In response to FoxHollow’s announcement, Herb Greenberg of Marketwatch
                       14   opined that “there is more to the story” and “raised a red flag over the sudden retirement
                       15   announcement of FoxHollow CEO Robert Thomas.” Greenberg stated: “Foxhollow announced
                       16   after the market close that CEO Robert Thomas (who also was the unabashed head of the
                       17   company’s cheerleading team) ‘informed’ the board that effective January 1 he will be ‘retiring.’
                       18   Retiring? Oh, please! He’s 44. At 44, you don’t retire: You quit or you are fired.”
                       19          83.     According to AP reports, Piper Jaffray analyst Tom Gunderson stated in a
                       20   research report, “There is a strong feeling of another shoe to drop in this story.”
                       21          84.     To quell such speculation, FoxHollow decided to hold a “Management Transition
                       22   Conference Call” for analysts on December 12. Thomas, Ferguson, and Simpson participated on
                       23   the call for FoxHollow. Analysts participants included a representative from J.P. Morgan, Tom
                       24   Gunderson from Piper Jaffray, David Lewis of Thomas Weisel, Matt Duncan of Stephens, Amit
                       25   Bhalla of Morgan Stanley, and David Zimbalist of Natexis. In response to analyst concerns
                       26   about other management changes, both Simpson and Thomas emphasized the Company’s
                       27   confidence in the remaining members of management and their expected longevity. Simpson

        v              28   stated that FoxHollow expected a smooth CEO transition “based on our success and strong
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                       1    management team we have in place.” Commenting on Thomas’ departure, Simpson stated, “He
                       2    leaves us in very good shape with a strong management team.” Echoing these comments,
                       3    Thomas stated, “We also feel like the management team here is incredible.” When one analyst
                       4    asked why Thomas, seemingly on top of the world, would suddenly leave FoxHollow with just
                       5    two weeks notice, Thomas responded:
                       6           “Yeah. It’s, as I mentioned before, it’s really for personal reasons. I really want
                                   to spend more time with my six-year-old daughter, as well as my wife, and do
                       7           some of the things that I’ve put off for quite some time. As we also mentioned in
                                   the script ... I just want to take a step back.”
                       8
                            At another point, Thomas stated, “This is more about me wanting to take a step back but nothing
                       9
                            having to do with the Company and where we’re going” and reiterating that he left “to reconnect
                       10
                            with my family and friends.” Simpson also represented, with respect to the timing of the
                       11
                            consideration of Thomas’ departure, that “it’s perfectly logical that Boards ... have an ongoing
                       12
                            dialogue” about the departure of their CEO and that it “was these kinds of discussion that led to
                       13
                            more serious dialogue with Robert over the past several months about his own plans and
                       14
                            intentions for the future.”
                       15
                                   85.     The comments described above, made during the December 12, 2005 conference
                       16
                            call, were materially misleading. Thomas did not voluntarily resign for “personal” reasons
                       17
                            unrelated to his work at FoxHollow, nor had such plans been in the works for “the past several
                       18
                            months.” Rather, Simpson told Thomas that he would be replaced back if he didn’t implement
                       19
                            the Lumend acquisition back in August 2005, and Thomas had been forced to resign, i.e., fired.
                       20
                            Just days earlier, the Board had met with executive officers and interrogated them about Thomas
                       21
                            and his role with Lumend. Further, Simpson did not believe he had a “strong management
                       22
                            team,” and his statement left the false impression that no further management changes were
                       23
                            contemplated. However, Simpson planned to replace Martin and Hoffman just a few weeks later,
                       24
                            and had already embarked on a plan to force their removal.
                       25
                                   86.     Simpson also failed to mention that, as of the December 12, 2005 conference call,
                       26
                            FoxHollow was already negotiating a special “Separation Agreement” with Thomas. Based on
                       27
                            the stated “personal” reasons for his sudden departure, Thomas stood to lose the right to exercise
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                       1    unvested options worth millions of dollars. Under the Agreement, many of Thomas’ options
                       2    were immediately vested. According to Executive Employee Witness 3, this money was
                       3    perceived by others to be “hush money” to keep quiet about the real reason for his dismissal.
                       4    Thomas also agreed to a “No Cooperation” clause, requiring that “he will not counsel or assist
                       5    any attorneys or their clients in the presentation or prosecution of any disputes, differences,
                       6    grievances, claims, charges or complaints” against FoxHollow or any of its officers or directors.
                       7    Thomas further agreed to a “Post-Termination Assistance” clause, requiring him to provide
                       8    “information and assistance” to FoxHollow in connection with any “governmental investigation
                       9    or litigation.”
                       10           87.       The sudden news of Thomas’ departure was devastating to shareholders. On
                       11   December 13, 2005, FoxHollow’s share price plunged from $46.12 to $38.97, a 15.5% drop.
                       12   The trading volume was massive, with over 4.5 million shares traded – the second largest trading
                       13   day in the Company’s history. Within one week, FoxHollow was trading below $31 per share, a
                       14   loss of one-third of its market capitalization or over $375 million.
                       15           88.       This substantial drop was only tempered by Thomas’ and Simpson’s assurances
                       16   that the departure was routine and that the Company had complete confidence in the existing
                       17   management team, including Martin and Hoffman. For example, in an analyst report issued on
                       18   December 13, 2005, William Blair analyst Ben Andrew, who had closely followed FoxHollow
                       19   and participated in previous conference calls with management, remarked:
                       20           While there is sure to be speculation regarding alternative motives for his
                                    decision, we take Mr. Thomas’ word at face value given the high level of
                       21           credibility he has developed since taking the company public roughly 14 months
                                    ago. While the loss of Mr. Thomas and the uncertainty of his successor raises the
                       22           risk profile of the company, we believe the depth in the company’s executive
                                    ranks is strong enough to continue the momentum FoxHollow has generated
                       23           recently.
                       24   Emphasis added. In another report issued on January 3, 2006, William Blair’s Andrew stated:
                       25           One of our key concerns stemming from this management change would be
                                    turnover in the sales and marketing organization. . . While appointing a new
                       26           CEO is an important step for the company, we would more immediately focus
                                    investors’ attention on the existing, exceptional managers of the sales and
                       27           marketing organization that has been critical in establishing the company’s
                                    powerful culture and high energy level (both of which have likely elevated
        v              28           external interest in these individuals). Should one or two of these individuals
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                       1           choose to leave FoxHollow in an orderly manner, we believe the organization and
                                   the culture would survive. However, if we see significant defections from among
                       2           this group, we would view that as cause for increase concern.
                       3
                            Emphasis added.
                       4
                                   89.     Again, such concern turned out to be warranted. As of December 12, 2005, at the
                       5
                            same time Simpson was reassuring analysts that further management changes were not
                       6
                            contemplated, Simpson had already made the decision to replace both Martin and Hoffman.
                       7
                            According to Executive Employee Witness 3, Ferguson and Rohlen stripped Hoffman, the well-
                       8
                            respected head of FoxHollow’s sales operations – of almost all of his primary job responsibilities
                       9
                            and started to phase him out as a manager altogether in a clear effort to force Hoffman’s
                       10
                            resignation. Hoffman was no longer consulted on quarterly and annual guidance provided to
                       11
                            analysts for revenue forecasts and sale professional hiring plans, which were his responsibility
                       12
                            prior to August 2005. FoxHollow discussed reducing sales compensation levels to the sales
                       13
                            team, again bypassing Hoffman. Hoffman was no longer invited to market analysis meetings,
                       14
                            which he presided over before. On January 11, 2006, Hoffman angrily submitted his letter of
                       15
                            resignation.
                       16
                                   90.     Similarly, according to Executive Employee Witness 1, as of December 10, 2005,
                       17
                            Martin was demoted by Simpson and the Board to a nominal position on a four-person
                       18
                            “leadership committee” along with Ferguson, Rohlen and Ron Steckel, and stripped of
                       19
                            substantive authority at the Company. Martin was all of a sudden subject to accusations of
                       20
                            wrongdoing by Board members, such as Sandy Fitch and Myrtle Potter, who had barely even
                       21
                            spoken to Martin before.
                       22
                                   91.     On January 9, 2006, FoxHollow filed with the SEC its Form 8-K, signed by
                       23
                            Ferguson, and issued a press release, announcing its preliminary financial results for the fourth
                       24
                            quarter ending December 31, 2005 and the full fiscal year 2005, as well as to give guidance for
                       25
                            the first quarter and full fiscal year of 2006. While the Form 8-K, signed by defendant Ferguson,
                       26
                            indicated that previously forecasted revenue for the fourth quarter and the full year 2004
                       27
                            remained on course, there was no mention of the management “transition.” Instead, Simpson
        v              28
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                       1    touted the results reached on Thomas’ watch, stating “Our tremendous growth in 2005 and
                       2    growth outlook for 2006 is based on our success in driving adoption for existing customers, as
                       3    well as the significant increase of our customer base. Revenues for 2005 more than tripled from
                       4    2004. Our outlook for 2006 represents a more than 60 percent growth in year-over-year
                       5    revenue.”
                       6            92.     In a related analyst call that same day, January 9, 2006, Simpson stated, “We have
                       7    initiated a search for a new chief executive officer and have selected the firm of Spencer Stuart to
                       8    assist us with that search. While looking forward to the completion of the search process, we are
                       9    confident in the abilities of the senior management team already in place.” Emphasis added.
                       10           93.     Just two weeks later, just as the market activity in FoxHollow’s stock started to
                       11   stabilize from the sudden and unexpected departure of its CEO, a much different picture of senior
                       12   management was revealed.
                       13           94.     On January 26, 2006, FoxHollow filed with the SEC its Form 8-K, signed by
                       14   defendant Ferguson, and issued a press release, announcing that Martin was being replaced as
                       15   Chief Operating Officer and Hoffman was being replaced as Vice President of Sales. Rohlen,
                       16   Simpson’s son-in-law, was promoted to President of Strategic Operations and Ferguson remained
                       17   as CFO. Simpson explained, “Based on the new strategic initiatives we announced earlier this
                       18   month, it is appropriate to effect this transition at this time.”
                       19           95.     On January 26, 2006, analysts at Piper Jaffray released a report concerning
                       20   FoxHollow entitled “Something Seems Amiss.” Piper Jaffray stated:
                       21           We recently upgraded FOXH on valuation, after its 33% decline due to the
                                    uncertainty of 2006 revenues and the sudden resignation of the CEO.
                       22           We are now inserting some caution on our short-term views. We have new
                                    worries related to additional management shakeups, possibly the VP of Sales
                       23           and/or the COO. In our opinion, while neither would be a big loss
                                    fundamentally, we are left wondering why the news flow from FOXH is so
                       24           uneven and what the underlying cause is for the potential management
                                    disruption.
                       25
                                    We have been tracking down rumors (part of the job description these days)
                       26           of management departures. We have not been able to confirm the rumors,
                                    but we are concerned by the lack of denial by management. In our opinion,
                       27           true or not true, the rumors are gaining enough substance to engender
                                    comment from the company.
        v              28
  L A W O F F IC E S                The uncertainty of “what’s really wrong” can only be partially balanced by
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                       1           our channel checks that indicate a strong market for FOXH’s products in
                                   2006. We cannot assure investors that all is right inside the company; in our
                       2           opinion, risk has increased.
                       3           96.     On the news, FoxHollow’s share price fell 7% the next trading day and about 15%
                       4    within three days, reaching a new yearly low of $23.35.
                       5           97.     Collectively, after public revelation of FoxHollow’s management “transition,” the
                       6    end result of Simpson’s undisclosed edict to Company management to acquire Lumend or else be
                       7    terminated, plaintiff and Class members lost 50% of their stock value in just over one month.
                       8    The total market value loss is over $600 million. FoxHollow’s stock value never recovered from
                       9    the revelation of this material information, and continued trading under $25 per share despite
                       10   reportedly record revenues.
                       11          98.     FoxHollow later announced that Simpson was changing his title from the
                       12   “interim” CEO to the permanent CEO. Simpson attributed the Company’s sales success to its
                       13   “strong management team” – i.e., his son-in-law, Duke, and his brother-in-law, defendant
                       14   Ferguson. On the news that Simpson was remaining as CEO, the stock dropped more than 10%.
                       15   VI.    LOSS CAUSATION/ECONOMIC LOSS
                       16          99.     During the Class Period, as detailed herein, defendants engaged in a scheme to
                       17   deceive the market and a course of conduct that artificially inflated FoxHollow’s stock price and
                       18   operated as a fraud and deceit on Class Period purchasers of FoxHollow common stock.
                       19   Material information about Simpson’s edict to Company management to acquire Lumend, and
                       20   his decision to terminate senior management if and when they refused to follow the edict, was
                       21   concealed. Further, when defendants finally chose to speak about the CEO’s departure, and their
                       22   satisfaction with other executive officers, they misrepresented the true facts, including that the
                       23   CEO had been forced to resign rather than “retire” voluntarily and that the Company planned to
                       24   replace the next two highest ranking officers, including the COO and VP of Sales. When the
                       25   result of such edict, the sudden and unexpected departure of the three highest ranking members
                       26   of management, and the true “state of affairs” at FoxHollow was disclosed and became apparent
                       27   to the market, the price of FoxHollow stock fell precipitously on massive trading volume as the

        v              28   prior artificial inflation came out of FoxHollow’s stock price. As a result of their purchases of
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                       1    FoxHollow common stock during the Class Period, Plaintiff and other members of the Class
                       2    suffered economic loss, i.e., damages under the federal securities laws.
                       3           100.    An illustration of FoxHollow’s share trading price, including periods immediately
                       4    prior to and following the Class Period, readily confirms the causal impact of FoxHollow’s
                       5    revelation of the management turmoil and terminations in December 2005 and January 2006,
                       6    following months of steady increases based on positive reports to the public markets:
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                       24   VII.   FRAUD-ON-THE-MARKET DOCTRINE
                       25          101.    At all relevant times, the market for FoxHollow common stock was an efficient
                       26   market for the following reasons, among others: (1) the Company’s common stock met the
                       27   requirements for public listing and was listed and actively traded on the Nasdaq National Market,

        v              28   a highly efficient market, (2) as a regulated issuer, the Company filed periodic public reports with
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                       1    the SEC, and (3) the Company regularly issued press releases which were carried by national
                       2    news wires. Each of these releases was publicly available and entered the public marketplace.
                       3           102.    As a result, the market for FoxHollow’s common stock promptly digested current
                       4    information with respect to the Company from all publicly available sources and reflected such
                       5    information in the price of the Company’s common stock. Under these circumstances, all
                       6    purchasers of the Company’s common stock during the Class Period suffered similar injury
                       7    through their purchase of the common stock of FoxHollow at artificially inflated prices and a
                       8    presumption of reliance applies.
                       9    VIII. ADDITIONAL SCIENTER ALLEGATIONS
                       10          103.    As alleged herein, defendants acted with scienter in that defendants knew that the
                       11   public documents and statements issued or disseminated in the name of the Company were
                       12   materially false and misleading; knew that such statements or documents would be issued or
                       13   disseminated to the investing public; and knowingly and substantially participated or acquiesced
                       14   in the issuance or dissemination of such statements or documents as primary violations of the
                       15   federal securities laws. As set forth elsewhere herein, defendants, by virtue of their receipt of
                       16   information reflecting the true facts regarding FoxHollow, their control over, and/or receipt
                       17   and/or modification of FoxHollow’s materially misleading misstatements and/or their
                       18   associations with the Company which made them privy to confidential proprietary information
                       19   concerning FoxHollow, participated in the fraudulent schemed alleged herein.
                       20          104.    Defendants knew and/or recklessly disregarded the falsity and misleading nature
                       21   of the information which they caused to be disseminated to the investing public. The ongoing
                       22   fraudulent scheme described herein could not have been perpetrated over a substantial period of
                       23   time, as has occurred, without the knowledge and complicity of the defendants.
                       24          105.    Defendants had the motive and opportunity to perpetrate the fraudulent scheme
                       25   and course of business described herein. Simpson and his affiliates were substantial shareholders
                       26   in FoxHollow as well as Lumend. As the founder, largest shareholder, and Chairman of
                       27   FoxHollow, Simpson helped to issue statements and press releases on behalf of FoxHollow and

        v              28   had the opportunity to commit the fraud alleged herein.
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                       1    IX.    CAUSES OF ACTION
                       2                                           First Cause of Action
                       3                           Violation of §10(b) of the 1934 Act and Rule 10b-5
                       4           106.    Plaintiff hereby incorporates all of the foregoing paragraphs.
                       5           107.    During the Class Period, defendants disseminated and approved false and
                       6    misleading statements and omitted to state material facts necessary in order to make the
                       7    statements not misleading under the circumstances. In doing so, defendants created an
                       8    impression of affairs that differed in a material way from the one that actually existed. By
                       9    disclosing information to the public about increasing revenues and efforts to secure long-term
                       10   employment of management, defendants assumed a duty to speak fully and truthfully on those
                       11   subjects. By failing to disclose Simpson’s edict to management to acquire Lumend or be
                       12   replaced, and by later misrepresenting the reasons for Thomas’ departure and the Company’s
                       13   satisfaction with other executive officers, defendants disseminated and misleading statements
                       14   while concealing and omitting material facts which they had a duty to disclose.
                       15          108.    The scheme, misrepresentations and concealments described herein affirmatively
                       16   created an impression of a state of affairs that differed in a material way from the one that
                       17   actually existed. Defendants created a false impression of a stable company which valued its
                       18   employees and management. Defendants disclosed to investors not only that they were pleased
                       19   by the performance of management but were making every effort to retain them.
                       20          109.    Defendants, directly and indirectly, by the use, means or instrumentalities of
                       21   interstate commerce and/or of the mails, engaged and participated in a continuous course of
                       22   conduct to misrepresent and conceal adverse material information about FoxHollow and its own
                       23   internal operations, as specified herein.
                       24          110.    As a result of the scheme, misrepresentations and failure to disclose material facts,
                       25   as set forth above, the prices of the FoxHollow stock paid by Plaintiff were distorted during the
                       26   Class Period such that they did not reflect the risks and costs of the continuing course of conduct
                       27   alleged herein. In ignorance of these facts that prices of the stock were distorted by virtue of the

        v              28   concealed information identified herein, which withheld facts would have been material to a
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                       1    reasonable investor similarly situated in making the decision to purchase the stock, Plaintiff and
                       2    the other members of the Class acquired the stock during the Class Period at distorted prices and
                       3    were damaged.
                       4             111.   The fraudulent scheme, including the misrepresented and concealed information,
                       5    was the proximate cause of Plaintiff’s and the Class’ investment losses since the very
                       6    circumstances that caused the loss represented by the decline in the FoxHollow stock price was
                       7    within the zone of risk misrepresented and/or concealed by defendants, such that the loss was
                       8    foreseeable and caused by the materialization of the misrepresented and/or concealed risk. Thus,
                       9    there is a link between the subject of the misrepresentations and/or omissions and the loss such
                       10   that the subject was the cause. The information misrepresented and/or concealed by defendants,
                       11   described herein, disguised the precise circumstances to which Plaintiff and the Class fell victim.
                       12   Defendants concealed circumstances that foreseeably caused Plaintiff’s losses.
                       13            112.   At the time of said misrepresentations and/or omissions, Plaintiff and other
                       14   members of the Class were ignorant of their falsity, and believed them to be true. Had Plaintiff
                       15   and other members of the Class known of the truth, which was not disclosed by defendants,
                       16   Plaintiff and other members of the Class would not have purchased or otherwise acquired the
                       17   stock.
                       18                                        Second Cause of Action
                       19                                  Violation of §20(a) of the 1934 Act
                       20            113.   Plaintiff hereby incorporates all of the foregoing paragraphs.
                       21            114.   Simpson acted as a controlling person of FoxHollow within the meaning of
                       22   Section 20(a) of the Exchange Act as alleged herein. By virtue of his high-level positions, his
                       23   ownership and contractual rights, participation in and/or awareness of the Company’s operations
                       24   and/or intimate knowledge of the statements filed by the Company with the SEC and
                       25   disseminated to the investing public, Simpson had the power to influence and control and did
                       26   influence and control, directly and indirectly, the decision-making of the Company, including the
                       27   content and dissemination of the various statements which Plaintiff contends are false and

        v              28   misleading. Simpson was provided with or had unlimited access to copies of the Company’s
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                       1    reports, press releases, public filings and other statements alleged by Plaintiff to be misleading
                       2    prior to and/or shortly after these statements were issued and had the ability to prevent the
                       3    issuance of the statements or cause them to be corrected.
                       4            115.   Simpson had direct and supervisory involvement in the day-to-day operations of
                       5    the Company and, therefore, is presumed to have had the power to control or influence the
                       6    particular transactions giving rise to the securities violations as alleged herein, and exercised the
                       7    same.
                       8            116.   As set forth above, FoxHollow and Simpson each violated Section 10(b) and Rule
                       9    10b-5 by their acts and omissions as alleged in this complaint. By virtue of his positions as a
                       10   controlling person, Simpson is liable pursuant to Section 20(a) of the Exchange Act. As a direct
                       11   and proximate result of FoxHollow’s and Simpson’s wrongful conduct, Plaintiff and other
                       12   members of the Class suffered damages in connection with their purchases of the Company’s
                       13   common stock during the Class Period.
                       14   X.      PRAYER FOR RELIEF
                       15           WHEREFORE, Plaintiff, on behalf of himself and the Class, prays for judgment as
                       16   follows:
                       17           1.     Declaring this action to be a proper class action pursuant to Rule 23 of the Federal
                       18   Rules of Civil Procedure on behalf of the Class defined herein, and declaring Plaintiff to be a
                       19   proper Class representatives and Plaintiff’s counsel as counsel for the Class;
                       20           2.     Awarding Plaintiff and all members of the Class compensatory damages and
                       21   exemplary damages in an amount to be proven at trial;
                       22   ///
                       23   ///
                       24   ///
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                       1           3.      Awarding Plaintiff and members of the Class pre-judgment interest, as well as
                       2    expert witness fees and other costs;
                       3           4.      Awarding such other relief as this Court may deem just and proper.
                       4    Dated: October 19, 2007                COTCHETT, PITRE & McCARTHY
                       5
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        v              28
  L A W O F F IC E S

C O TCH ETT ,
 P ITRE &
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                       7                                            JURY DEMAND
                       8          Plaintiffs demands a jury trial on all issues so triable.
                       9    Dated: October 19, 2007               COTCHETT, PITRE & McCARTHY
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